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                               EXHIBIT 
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Segment / Market: Global Governance                   Program / Project Name: SOM – Reddwerks                               Program: US Compliance
                                                      Upgrade
 Problem Statement/Description:                                                            Executive Sponsor:                      Phyllis Harris
 Provide a brief description of the opportunity that this initiative will resolve.         Requester Name:                         Compliance
                                                                                           Business Owner:                         Tim Harris
 The goal of the project is to modify the existing Reddwerks logic to implement            Business Area (s):                      Pharmacy Logistics
 calculated store/item combination order thresholds. Any order above the new
 threshold will generate an order alert. The project also includes the creation of         Formats in scope:
 historical order information retention and reporting. This initiative will allow
 program enhancements to help Walmart avoid DEA enforcement as a result of                 Risk of Not Doing Project and Dependencies
 non-compliance with 21 CFR 1301.74(b).
                                                                                           • List the risks for not doing this effort
                                                                                           Risks include potential DEA enforcement, which could include fines, penalties and license forfeiture,
 Provide a brief Executive Summary listing the goals, objectives, and benefits of          as well as failure to secure VAWD reaccreditation.
 this initiative, as well as any additional risks associated with not doing this effort.   • List all known dependencies
                                                                                           Currently, the 3rd party, Reddwerks, products are not level across all Pharmacy DC's. In order to
                                                                                           keep the service costs to the vendor associated with this project lower, and to avoid higher
                                                                                           maintenance costs by supporting multiple versions, the product needs to be leveled across all DC's
 The goal of this project is to design and operate a system to identify "Suspicious        with these enhancements. Leveling the product across all Pharmacy DC's will require updated server
                                                                                           technology. The hardware cost will not be covered by this project but will be covered from Division
 Orders" of controlled substances. All suspicious orders must be reported to               7, Logistics.
 DEA upon detection. A "Suspicious Order" could include an order of unusual
 quantity, orders which substantially deviate from a normal pattern and orders of          Other Benefits (e.g., Revenue Margin Enhancements, Future Cost
 unusual frequency.                                                                        Avoidance, Foundational Needs)

                                                                                           • List the benefits that will be achieved from completing this initiative;
                                                                                             soft and hard benefits.
                                                                                           Compliance with Federal law and VAWD accreditation standards.

                                                                                 Financials
    Annual                                                                    Expense
                       Sales             SG&A              COGS                                         NPV
    Benefit                                                                   Savings

 FY15                                                                                                   IRR

 FY16

 FY17                                                                                                                IT Costing                        Capex ($M)              Opex ($M)

 Totals                                                                                                 FY15 Cost
 FY15 Form 1                                                                                            Multiyear Project
